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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION


 ROBERT L. MATHEWS,

       Appellant,

 v.                                                   Case No. 3:07-cv-121-J-32

 AARON R. COHEN, as Chapter 7
 Trustee,

       Appellee.


                                        ORDER

       This case is before the Court following an appeal by Debtor-appellant Robert

 L. Mathews of an Order of the United States Bankruptcy Court for the Middle

 District of Florida, dated January 18, 2007, denying Debtor’s claim of exemption for

 certain stock because it was not owned as a tenancy by the entireties. The Order

 and the bankruptcy court’s Findings of Fact and Conclusions of Law which support

 this Order are published. In re Mathews, 360 B.R. 732 (Bankr. M.D. Fla. 2007).

 After briefing, the Court held oral argument on October 25, 2007.

 I.    Procedural History

       Debtor filed for Chapter 7 bankruptcy relief on September 29, 2005 and

 claimed the following property as exempt based on ownership as tenancy by the

 entireties: (i) a boat slip at the Conch House Marina in St. Augustine, Florida ; (ii)
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 two parcels of real property located in Jacksonville, Florida which Debtor describes

 as “Highway Avenue Property” and “Picketville Property”; (iii) household goods and

 furnishings owned by Debtor and his non-filing spouse, Joyce Mathews; (iv) stock

 in First National Bank of Orange Park, Florida,1 and (v) an American Express

 mutual fund account. Trustee objected to a number of these claims of exemptions.

        The bankruptcy court concluded that the household goods and furnishings,

 the boat slip, the Highway Avenue Property and the Picketville Property, are

 owned as tenancy by the entireties and are therefore exempt. However, the court

 concluded that the mutual fund account and the First National Banc stock were not

 owned by Debtor and his wife as tenants by the entireties and as such are not

 exempt.

        Debtor timely filed his notice of appeal contending that the bankruptcy court

 erroneously concluded that the First National Banc stock is not exempt. That is

 the only issue on appeal.




    1
       Debtor filed an Amendment to Schedule B and C, before the bankruptcy court
 issued its Findings of Facts and Conclusions of Law, claiming as exempt First
 National Banc, Inc. stock acquired through merger of First National Bank, Orange
 Park, Florida and First National Banc, Inc. The Court will refer to the stock at issue
 here as “First National Banc stock.”

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 II.   Factual Background2

       Debtor and his wife purchased 5,000 shares of First National Bank of

 Orange Park, Florida common stock in 1999. The stock certificate for these

 shares is titled “ROBERT L. MATHEWS or JOYCE M. MATHEWS (JTWROS)”. In

 connection with this stock purchase, on April 14, 1999, Debtor signed a document

 titled “STOCK CERTIFICATE REGISTRATION INSTRUCTIONS” which provided

 Debtor with five ownership options: Individual, Tenants in Common, Other, Joint

 Tenants with Rights of Survivorship, and Uniform Gift to Minors. Debtor checked

 the blank next to “Joint Tenants with Rights of Survivorship.”

       Debtor was the director of First National Bank of Orange Park from the time

 he purchased the stock up until the time he filed his bankruptcy petition. He

 admitted that he never filled out any forms associated with the stock. He testified

 that “somebody else” wrote “JT TEN” on the “ELECTION FORM AND LETTER OF

 TRANSMITTAL” and that he merely received these items as they were titled and

 took no action to change them. As a result, all the documents related to the stock

 were titled to Debtor and his wife as joint tenants with right of survivorship.

       When First National Bank of Orange Park merged with First National Banc,

 a new stock certificate was issued and was titled the same way as the First



   2
      The following facts are not disputed and are contained in the bankruptcy record
 on appeal. (See generally Doc. 1, Doc. 7.)

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 National Bank of Orange Park shares. Debtor did not request the title to the First

 National Banc stock be any different than that of the First National Bank of Orange

 Park.

            After the petition date, First National Banc was acquired by Ameris Bancorp.

 Debtor and his wife received 4,250 shares of Ameris Bancorp common stock and

 $85,595 in cash from the acquiring entity in exchange for their First National Banc

 shares. The new stock issued was titled “ROBERT L MATHEWS & JOYCE M

 MATHEWS JT TEN.”

 III.       Jurisdiction and Standard of Review

            This Court is sitting in an appellate capacity. See 28 U.S.C.§ 158. It

 therefore must review the bankruptcy court’s legal conclusions de novo and must

 accept the bankruptcy court’s factual findings unless they are clearly erroneous.

 See, e.g., In re Englander, 95 F.3d 1028, 1030 (11th Cir. 1996). Although the

 parties disagree on the standard of review that should be applied in this case,3 the

 issue on appeal is a question of law concerning the proper application of the

 Florida Supreme Court’s decision in Beal Bank v. Almand & Assocs., 780 So.2d 45



        3
        Debtor argues that a de novo standard of review should apply because the
 legal significance afforded to the underlying facts is at issue in this case. See In re
 Optical Technologies, Inc., 252 B.R. 531, 533 (Bankr. M.D. Fla. 2000). Trustee
 contends that the bankruptcy court’s conclusion that a tenancy by the entireties was
 not created is based upon its findings of fact and should be reviewed for clear error.
 See Fed. R. Bankr. P. 8013.

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 (Fla. 2001) and will be reviewed de novo.

 IV.       Discussion

           The sole issue on appeal is whether on the petition date Debtor and his wife

 owned the First National Banc stock as tenants by the entireties. Section

 522(b)(3)(B) of the Bankruptcy Code exempts from the bankruptcy estate any

 interest in property held as a tenancy by the entireties under applicable state law.

 11 U.S.C. § 522(b)(3)(B). Here, the applicable law is Florida law, “pursuant to

 which the Court must evaluate the debtor’s claim of exemption.” In re Hinton, 2007

 WL 3051264, at * 2 (Bankr. M.D. Fla. Oct. 1, 2007); see also In re Sinnreich, 391

 F.3d 1295, 1297 (11th Cir. 2004) (“The nature of a bankrupt’s interest in property is

 determined by state law.”) (citing Butner v. United States, 440 U.S. 48, 55 (1979)).

           In Florida, a married couple is entitled to own property as tenants by the

 entireties but may also choose to hold property as joint tenants with right of

 survivorship. Beal Bank, 780 So. 2d at 53.4 Although these two forms of

 ownership share similar characteristics, “there are significant differences in the

 legal consequences between the forms of ownerships when creditors of one

 spouse seek to garnish these assets, when one spouse declares bankruptcy, or

 when one spouse attempts to recover monies transferred without his or her



       4
       A married couple may also hold property as tenants in common but that type
 of ownership is not at issue here.

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 permission.” Id. Property held as tenancy by the entireties belongs to neither

 spouse individually, rather each spouse is seized of the whole. Id. By contrast, in

 a joint tenancy with right of survivorship, each spouse is presumed to own an

 equal share for purposes of alienation; but for purposes of survivorship, each

 spouse owns the whole so that upon death the entire remainder of the whole

 passes to the survivor. Id. Accordingly, when property is held as a tenancy by the

 entireties, the property cannot be reached by a creditor to satisfy the debt of only

 one spouse. Id. However, if property is held as a joint tenancy with right of

 survivorship, a creditor holding debt against only one spouse may attach the

 debtor’s share of the property, leaving the share of the non-debtor spouse

 unaffected. Id.

       Florida law has long followed the rule that real property in both a husband

 and wife’s name is presumed to be held as a tenancy by the entireties as long as

 the “six unities” of marriage, possession, interest, title, time and right of

 survivorship are present. Id. at 52. However, Florida courts had historically

 imposed a different standard in determining whether jointly titled marital personal

 property is held as a tenancy by the entireties. See First Nat’l Bank of Leesburg v.

 Hector Supply Co., 254 So. 2d 777, 780 (Fla. 1971). In Beal Bank, the Florida

 Supreme Court reconciled these standards holding that jointly titled marital bank

 accounts should enjoy the same presumption in favor of a tenancy by the


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 entireties. 780 So. 2d at 58. The Court in Beal Bank receded from its decision in

 Hector Supply and concluded that strong “policy considerations favor allowing the

 presumption in favor of a tenancy by the entireties when a married couple jointly

 owns personal property.” Id. at 57, 62. While the personal property at issue in Beal

 Bank was bank accounts, later cases have extended the Beal Bank rationale to

 other forms of personal property. See Cacciatore v. Fisherman’s Wharf Realty

 Ltd. P’ship, 821 So. 2d 1251, 1253 (Fla. 4th DCA 2002) (extending the Beal Bank

 holding to stock certificates); In re Daniels, 309 B.R. 54, 59 (Bankr. M.D. Fla. 2004)

 (confirming that the Beal Bank presumption generally applies to jointly owned

 personal property, not just to financial accounts); In re Kossow, 325 B.R. 478, 484

 (Bankr. S.D. Fla. 2005) (applying the Beal Bank presumption to household

 furnishings).5 Here, the bankruptcy court aligned itself with these cases and

 applied Beal Bank to the disputed stock. In re Mathews, 360 B.R. at 742.

        However, the Beal Bank presumption does not apply if the debtor expressly

 disclaims that the account is held as a tenancy by the entireties. Beal Bank, 780



    5
       See also In re Hinton, 2007 WL 3051264, at *3 (“in the absence of any
 controlling statute, express agreement, account statement, or other governing indicia
 that explicitly establishes a form of ownership other than tenancy by the entireties,
 Beal Bank’s presumption also is applicable to all personal property”)(internal
 quotations omitted); cf. Xayavong v. Sunny Gifts, Inc., 891 So. 2d 1075, 1078 (4th
 DCA 2005) (explaining that Beal Bank does not apply when a “statute that specifically
 prescribes how to create a co-ownership interest in a particular variety of personal
 property” controls).

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 So. 2d at 60.

              An express disclaimer can take the form of an express
              statement signed by the depositor that a tenancy by the
              entireties was not intended, coupled with an express
              designation of another form of legal ownership.
              Alternatively, an express disclaimer of an intent not to
              hold the account as a tenancy by the entireties arises
              if the financial institution affirmatively provides the
              depositors with the option on the signature card to
              select a tenancy by the entireties among other options,
              and the depositors expressly select another form of
              ownership . . . .

 Id. A statement on a signature card of a bank account that the property is “held as

 a joint tenancy with right of survivorship does not alone constitute an express

 disclaimer that the account is not held as a tenancy by the entireties. This is

 because a tenancy by the entireties is essentially a joint tenancy, modified by the

 common-law doctrine that husband and wife are one person.” Id. (citation omitted)

 (internal quotations omitted).

        In the absence of an express disclaimer, there arises a rebuttable

 presumption that a tenancy by the entireties was created. Id. at 58. This

 presumption shifts to the party opposing entireties ownership the burden of proving

 by a preponderance of the evidence that a tenancy by the entireties was not

 created. Id. at 58-59.

       Thus, in this context, the Beal Bank protocol requires that the bankruptcy

 court first determine whether the Debtor has expressly disclaimed tenancy by the


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 entireties ownership. If the Debtor has done so, the inquiry is complete and the

 personal property is not held by the entireties.6 Id. at 60. If there is no express

 disclaimer and the six unities are present, a rebuttable presumption arises that the

 jointly titled spousal personal property is held as a tenancy by the entireties,

 shifting the burden to the Trustee to prove by a preponderance of the evidence

 that the property is not held by the entireties. Id. at 58 - 59.

           Invoking the Beal Bank regime, the bankruptcy court reasoned:

                         While there is a presumption that Debtor owned the
                 Stock with Mrs. Mathews as tenants by the entireties, the
                 Trustee has proven by a preponderance of the evidence
                 that a tenancy was not created. The original stock
                 certificate for the Stock of First National Bank of Orange
                 Park is specifically titled “ROBERT L. MATHEWS OR
                 JOYCE M. MATHEWS (JTWROS)”.7 The Registration
                 Form was checked off as “Joint Tenants with Right of
                 Survivorship”. Debtor testified, and Mr. Beaty confirmed,
                 that the First National Banc stock certificate was titled the
                 same way as the First National Bank of Orange Park stock
                 certificate. Even though Debtor was a director of the bank,
                 he never took any steps to change how the original stock
                 certificate was titled.
                         On the Election Form relating to the Ameris Bancorp
                 merger, Debtor wrote in “Robert L. or Joyce M. Mathews”.
                 The Ameris Bancorp stock certificate issued postpetition is
                 titled “ROBERT L MATHEWS & JOYCE M MATHEWS JT

   6
        Of course, an express designation that the personal property is held as tenancy
 by the entireties would also be honored and the inquiry ended. Beal Bank, 780 So.2d
 at 60.
       7
       The use of the conjunction “or” versus the conjunction “and” in the title of the
 stock certificate is not dispositive of the type of account that was created. Beal Bank
 v. Almand & Assoc., 780 So. 2d 45, 59 n.18 (Fla. 2001).

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               TEN”. Debtor took no action to have the New Stock titled
               as tenants by the entireties.
                      Debtor wanted to ensure that he owned all personal
               property jointly with his wife, Mrs. Mathews, and he testified
               that he intended to own it jointly with Mrs. Mathews
               because if he died before her, it would go straight to her
               without the necessity of probate. With a joint tenancy, the
               property would go to Mrs. Mathews without her having to
               fight in probate court. As a sophisticated businessman,
               Debtor knew what he was doing and fully intended to own
               the Stock as joint tenants with right of survivorship. Debtor
               expressly disclaimed ownership as tenancy by the
               entireties. Thus, the Trustee has proven by a
               preponderance of the evidence that a tenancy by the
               entireties was not created.

  In re Mathews, 360 B.R. at 743 (emphasis added).

        The bankruptcy court has misapplied the Beal Bank protocol. The court

  found that “Debtor expressly disclaimed ownership as tenancy by the entireties.”

  Id. However, the bankruptcy court also applied the rebuttable presumption and

  concluded that Trustee had rebutted it and “proven by a preponderance of the

  evidence that a tenancy by the entireties was not created.” Id. Yet, if there really

  was an express disclaimer, the presumption was irrelevant, there was no need to

  evaluate the other evidence and there was no entireties ownership. Beal Bank,

  780 So. 2d at 60-61. Thus, the bankruptcy court has improperly combined two

  different aspects of the Beal Bank analysis.

        Trustee argues, in effect, that none of this matters because there was an

  express disclaimer of entireties ownership, as the bankruptcy court found. Trustee


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  contends that Debtor and his spouse did expressly disclaim entireties ownership

  because they selected “Joint Tenancy with Rights of Survivorship” on the back of

  the stock certificate when they could have selected the option “Other” if they

  intended to own the stock as a tenants by the entireties. (Doc. 9 at 21.) According

  to Beal Bank, however, selection of another form of ownership on the back of a

  certificate is not an express disclaimer unless the documentation affirmatively

  provides the debtor with an option to select tenancy by the entireties. 780 So. 2d

  at 60; see also In re Caliri, 347 B.R. 788, 800 (Bankr. M.D. Fla. 2006) (noting that

  when uncertainty exists regarding the form of ownership and whether Debtor and

  spouse expressly disclaimed ownership as tenants by the entireties, “the scales

  must tip in favor of the debtor pursuant to Beal Bank . . . .”). The stock certificate

  in this case did not expressly provide Debtor with an option to select tenancy by

  the entireties as a form of ownership; thus the bankruptcy court erred in concluding

  that Debtor expressly disclaimed tenancy by the entireties.8

         It is true that although Debtor did not expressly disclaim tenancy by the

  entireties, Trustee could still overcome the rebuttable presumption of entireties

  ownership if he proved by a preponderance of the evidence that Debtor did not


     8
         In contrast, the bankruptcy court correctly concluded that Debtor and his
  spouse expressly disclaimed tenancy by the entireties ownership of the mutual fund
  account because the account documentation affirmatively provided Debtor with an
  option to select “Tenants by the Entirety” and he selected “Joint Tenant” ownership.
  In re Mathews, 360 B.R. at 745.

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  create a tenancy by the entireties. Beal Bank, 780 So. 2d at 58. However,

  because the bankruptcy court misapplied Beal Bank and erroneously found an

  express waiver, this Court cannot be confident that the bankruptcy court’s decision

  that the Trustee had rebutted the presumption would have been the same if it had

  correctly followed the Beal Bank protocol.

        Moreover, the evidence on which the bankruptcy court relied to find that the

  presumption was overcome and that a tenancy by the entireties was not created

  was far from overwhelming. For example, the bankruptcy court relied on the fact

  that Debtor, who was director of First National Bank of Orange Park, had the

  ability to change the title of the stock certificate but failed to do so. In re Mathews,

  360 B.R. at 743. However, it is not clear that the Debtor had any obligation to do

  so or that failure to do so is evidence of intent not to create a tenancy by the

  entireties. Indeed, the Florida Supreme Court in Beal Bank seemed to agree with

  the proposition that “a rebuttable presumption that a marital account is held as

  tenancy by the entireties property . . . would conserve judicial resources and

  solidify the legitimate expectations of borrowers and lenders.” Beal Bank, 780 So.

  2d at 58 (emphasis added).

        The bankruptcy court also relied on post-petition evidence to support its

  conclusion. In re Mathews, 360 B.R. at 743. Generally, post-petition events

  should not be considered in determining a debtor’s entitlement to an exemption.


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  See, e.g., In re Mohammed, 376 B.R. 38, 41 (Bankr. S.D. Fla. 2007) (“Bankruptcy

  exemptions are determined by application of law to facts as the law and facts exist

  at filing of the petition, not earlier or later.”); In re Cunningham, 354 B.R. 547, 553

  (D. Mass. 2006) (“It is hornbook bankruptcy law that a debtor’s exemptions are

  determined as of the time of the filing of his petition. This means the Court must

  focus only on the law and facts as they exist on the date of filing the petition”)

  (citations omitted)(internal quotations omitted). If, as argued by the Trustee, this

  rule does not apply in this case, the bankruptcy court should articulate why this is

  so.

          Although the Court is reluctant to remand, this Court, sitting in an appellate

  capacity, cannot do the fact-finding required once Beal Bank is properly applied.

  Therefore, without prejudging the final result, the Court REMANDS for the

  bankruptcy court to reconsider its Order, dated January 18, 2007, in a manner

  consistent with this opinion. The Clerk should close the file.

          DONE AND ORDERED at Jacksonville, Florida this 21st day of December,

  2007.




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  r/jl
  Copies:
  The Honorable Jerry A. Funk
       United States Bankruptcy Judge
  counsel of record




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